                    Case 23-30138            Doc 1       Filed 04/13/23 Entered 04/13/23 10:15:51                              Desc Main
                                                           Document     Page 1 of 17

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Willimansett Center East RE LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  11 Saint Anthony Street
                                  Chicopee, MA 01013
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Hampden                                                        Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Willimansett Center East RE LLC                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               6231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Willimansett Center East RE LLC                                                                 Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                                                     11 Saint Anthony Street
                                                    Where is the property?           Chicopee, MA, 01013-0000
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes. Insurance agency         Zurich American Insurance Company
                                                                Contact name         John Cochran, CIC
                                                                Phone                800-382-2150


          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor     Willimansett Center East RE LLC                                                  Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                   Chapter      7
                                                                                                                     Check if this an
                                                                                                                     amended filing



                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Chapin Center RE LLC                                                    Relationship to you
District   Massachusetts                              When                         Case number, if known
Debtor     Governor's Center RE LLC                                                Relationship to you
District   Massachusetts                              When                         Case number, if known
Debtor     Northeast Health Group, Inc.                                            Relationship to you
District   Massachusetts                              When                         Case number, if known
Debtor     Willimansett Center West LLC                                            Relationship to you
District   Massachusetts                              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 5
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                   Case 23-30138                            Doc 1              Filed 04/13/23 Entered 04/13/23 10:15:51                                                            Desc Main
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 Fill in this information to identify the case:

 Debtor name            Willimansett Center East RE LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        4,107,700.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           170,116.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,277,816.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,445,465.81


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            12,500.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,457,965.81




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name          Willimansett Center East RE LLC

United States Bankruptcy Court for the:      DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No.   Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Republic Bank                                     Checking                              7708                                             $0.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No.   Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Replacement Reserve for HUD Mortgage held by Midland States Bank                                                                $96,125.00




           7.2.     Residual Receipts for HUD Mortgage held by Midland States Bank                                                                  $30,998.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor            Willimansett Center East RE LLC                                          Case number (If known)
                  Name

           Description, including name of holder of prepayment


           8.1.     General Liability Insurance held by America Empire                                                            $31,085.00




           8.2.     Property Insurance held by Zurich                                                                             $11,908.00




9.         Total of Part 2.                                                                                                 $170,116.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No.   Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                    204,527.40      -                         204,527.40 = ....                    $0.00
                                         face amount                         doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                         $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No.   Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No.   Go to Part 6.
      Yes Fill in the information below.

Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No.   Go to Part 7.
      Yes Fill in the information below.

Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No.   Go to Part 8.
      Yes Fill in the information below.

Part 8:           Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?


Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                               page 2
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Debtor        Willimansett Center East RE LLC                                              Case number (If known)
              Name


    No.    Go to Part 9.
    Yes Fill in the information below.

Part 9:       Real property
54. Does the debtor own or lease any real property?

    No.    Go to Part 10.
    Yes Fill in the information below.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used     Current value of
           property                              extent of              debtor's interest             for current value         debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                   11 Saint Anthony
                   Street, Chicopee, MA          Fee simple                   $1,627,728.39           Tax records                       $4,107,700.00




56.        Total of Part 9.                                                                                                          $4,107,700.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.    Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.    Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                page 3
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Debtor          Willimansett Center East RE LLC                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $170,116.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $4,107,700.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $170,116.00           + 91b.            $4,107,700.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,277,816.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 4
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Fill in this information to identify the case:

Debtor name          Willimansett Center East RE LLC

United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
2.1    Midland States Bank                          Describe debtor's property that is subject to a lien                  $3,445,465.81             $4,107,700.00
       Creditor's Name                              11 Saint Anthony Street, Chicopee, MA 01013
       5991 S. Highway 94
       Saint Charles, MO 63304
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.




                                                                                                                           $3,445,465.8
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      1

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Jeremy Robitaille
        Office of Healthcare Programs                                                                        Line   2.1                                   2105
        HUD - Boston Field Office
        10 Causeway Street, Rm 301
        Boston, MA 02222




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
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Debtor    Willimansett Center East RE LLC                                  Case number (if known)
          Name

      Secretary of HUD
      Office of Healthcare Programs                                                Line   2.1
      451 Seventh Street, SW
      Washington, DC 20410




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property               page 2 of 2
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Fill in this information to identify the case:

Debtor name        Willimansett Center East RE LLC

United States Bankruptcy Court for the:         DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $10,000.00
          Kane Financial Services                                            Contingent
          1665 Palm Beach Lake Blvd.                                         Unliquidated
          Suite 400                                                          Disputed
          West Palm Beach, FL 33401
                                                                            Basis for the claim:
          Date(s) debt was incurred 11/1/2022
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $2,500.00
          MSL, P.A.                                                          Contingent
          500 E. Broward Blvd.                                               Unliquidated
          Suite 1550                                                         Disputed
          Fort Lauderdale, FL 33394
                                                                            Basis for the claim:
          Date(s) debt was incurred 1/31/2023
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the              Last 4 digits of
                                                                                                     related creditor (if any) listed?                    account number, if
                                                                                                                                                          any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                            5a.        $                              0.00
5b. Total claims from Part 2                                                                            5b.    +   $                         12,500.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.        $                              12,500.00




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 1
                                                                                                          20781
                Case 23-30138              Doc 1        Filed 04/13/23 Entered 04/13/23 10:15:51                              Desc Main
                                                         Document     Page 15 of 17
Fill in this information to identify the case:

Debtor name        Willimansett Center East RE LLC

United States Bankruptcy Court for the:      DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease of 11 St. Anthony
             lease is for and the nature of       Street, Chicopee, MA
             the debtor's interest

                State the term remaining          14 Years and 5 Months
                                                                                    The Northeast Health Group, Inc.
             List the contract number of any                                        Two Bala Plaza, Suite 300
                   government contract                                              Bala Cynwyd, PA 19004




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
              Case 23-30138               Doc 1     Filed 04/13/23 Entered 04/13/23 10:15:51                              Desc Main
                                                     Document     Page 16 of 17
Fill in this information to identify the case:

Debtor name      Willimansett Center East RE LLC

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    The Northeast               Two Bala Plaza, Suite 300                                Midland States Bank             D        2.1
          Health Group,               Bala Cynwyd, PA 19004                                                                     E/F
          Inc.
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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